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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00189 KJM
12                                Plaintiff,             STIPULATION CONCERNING STATUS
                                                         CONFERENCE AND EXCLUDABLE TIME
13                          v.                           PERIODS UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   ZHONGZHANG YANG,
                                                         DATE: August 3, 2017
15                                                       TIME: 9:00 a.m.
                                  Defendant.             COURT: Hon. Kimberly J. Mueller
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17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on August 3, 2017 and continued to
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     September 6, 2017 for the other defendants. On August 2, 2017, defendant Zhongzhang Yang was set
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     for change of plea, but because of drafting errors in the plea agreement and the need to explain the
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     changes, this Court granted a further continuance of the status conference to August 23, 2017.
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            2.      By this stipulation, defendant now moves to exclude time between August 3, 2017, and
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     August 23, 2017, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government recently provided cell phone data for Zhongzhang Yang.
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                    b)     Counsel for defendant desires additional time to review the new discovery,
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            consult with his client, and discuss developments with his client.
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                    c)     Counsel for defendant believes that failure to grant the above-requested

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
      ORDER
                 Case 2:16-cr-00189-KJM Document 75 Filed 08/07/17 Page 2 of 3


 1          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 2          into account the exercise of due diligence.

 3                  d)     Counsel needs to explain changes to the plea agreement to the defendant with the

 4          aid of the Mandarin interpreter to interpret and explain court filings, discovery, and

 5          correspondence from the government to his client.

 6                  e)     The government does not object to the continuance.

 7                  f)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of August 3, 2017 to August 23,

12          2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

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     Dated: August 3, 2017                                    PHILLIP A. TALBERT
21                                                            United States Attorney
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                                                              /s/ ROGER YANG
23                                                            ROGER YANG
                                                              Assistant United States Attorney
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     Dated: August 3, 2017                                    /s/ MICHAEL E. HANSEN
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
      ORDER
             Case 2:16-cr-00189-KJM Document 75 Filed 08/07/17 Page 3 of 3

                                                            MICHAEL E. HANSEN
 1                                                          Counsel for Defendant
 2                                                          ZHONGZHANG YANG

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                                           FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 4th day of August, 2017.
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                                                      UNITED STATES DISTRICT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     3
     ORDER
